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Bureau of Consumer Financial Protection,
Plaintiff,
VS.

Chou Team Realty, LLC f/k/a Chou Team
Realty, Inc., d/b/a Monster Loans, d/b/a
MonsterLoans et al.,

Defendants,

Thomas “Tom” Chou; and Sean Cowell,

Defendants and
Relief Defendants,

Kenneth Lawson; Cre8labs, Inc.; XO
Media, LLC; and TDK Enterprises, LLC

Relief Defendants

 

 

 

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Attorney for Relief Defendants XO Media, LLC and Kenneth Lawson

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Case No. 8:20-cv-00043- JVS-ADS

SECOND DECLARATION OF
KENNETH LAWSON IN
SUPPORT OF RELIEF
DEFENDANTS XO MEDIA,
LLC’S AND KENNETH
LAWSON’S MOTION TO
DISMISS COMPLAINT

Assigned to Hon. James V. Selna

Hearing Date: June 15, 2020
Time: 1:30 p.m.

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SECOND DECLARATION OF KENNETH LAWSON
I, Kenneth Lawson, declare as follows:

Li I make this declaration in further support of the Motion to Dismiss the
Complaint in this action as to relief defendants Kenneth Lawson and XO Media,
LLC. I have knowledge of the facts stated herein and, if called as a witness, could

and would testify competently thereto.

Bi I am an entrepreneur and investor. In 25 years of business, I have never
been cited for a regulatory infraction or been accused of a violation of law by any

regulatory or law enforcement agency.

i In addition to my investments in the Student Loan Debt Relief (“SLDR”)
Defendants in this action through XO Media (“XO”), I invested in defendant Chou

Team Realty dba Monster Loans. I lost over $720,000 on that investment.

4. Prior to investing in Monster Loans, I had no experience in the mortgage
loan business and prior to investing in the SLDR companies, I had no experience
in the student loan debt relief business, or the debt relief industry generally. Both

prior to and at that time of my investments in those businesses, I was unfamiliar
with the laws and regulations governing them. Asa passive investor, without
responsibility for or authority over operation and management of the businesses
and legal compliance, I understood and accepted that I was necessarily reliant on

those running the businesses to be knowledgeable of the applicable legal

requirements and to do what was necessary to comply with them.

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5. After investing in the SLDR companies through XO in 2015, I was unaware
of any legal compliance issues in the businesses until learning from Monster
Loans management, specifically, Mikael van Loon, in late 2016-early 2017, of the
possible misuse of Experian consumer reports and that the person responsible for
that possible misuse was Jawad Nesheiwat. As stated in a pre-complaint
declaration I provided to plaintiff Bureau of Consumer Financial Protection
(“Bureau”) (Exhibit K to the Declaration of Colin Reardon submitted in
conjunction with the Bureau’s opposition to the Motion to Dismiss), upon
discovery of this possible misuse, management initiated an investigation of the
problem and instituted corrective measures, which included the termination of

Nesheiwat. I fully supported those remedial steps.

6. Despite my status as a passive investor in Monster Loans and the SLDR
companies, my lack of involvement in or responsibility for management of those
companies, and my lack of understanding of the laws and regulations governing
those businesses as a first time investor in the mortgage loan and student loan debt
relief sectors, the Bureau, in its opposition, attempts to pin culpability on me
through the use of certain documents that purport to show knowledge on my part
of certain legal violations by the SLDRC Defendants. | categorically deny any
such “guilty” knowledge. As stated, I did not know the legal strictures applying to
the businesses and thus did not know, until discovery of Nesheiwat’s possible
misuse of the Experian data, that transfer of data from Monster Loans to the
SLDR companies was not allowed. Nor did I know that direct acquisition of

consumer reports from Experian by the SLDR companies might also be

disallowed.

% In attempting to make me look “guilty,” the Bureau seeks to impute
knowledge of wrongdoing purportedly possessed by Mikael van Loon to me

because we were investing partners, through XO. For example, it suggests I

 
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would have known of potential wrongdoing because van Loon, at a pre-complaint
investigational hearing, was shown a document by the Bureau purportedly
indicating his awareness of such potential wrongdoing. (Bureau Opposition,
Reardon Declaration, Ex. C.) Aside from the fact that the exact nature of the
potential wrongdoing being discussed is unclear and did not have to do with the
SLDR Defendants, I have no recollection of van Loon sharing this part of his
testimony with me. Similarly, the Bureau uses a September 2016 email from
Nesheiwat to van Loon and others, but not to me, that mentions ordering data for
the SLDR companies. (/d., Ex. N.) The Bureau would like to believe this shows
that van Loon was aware at this time that such use of the data was illegal and that
he shared such knowledge and the email with me. He did neither.

8. The Bureau uses the same disingenuous tactic to make it appear I knew the
SLDR companies were illegally collecting advance fees from consumers prior to
completion of service. It does this through a July 2015 email from defendant
David Sklar to me and others, which mentions that the student loan-related
business’s merchant processor was now processing payments from consumers in
7-9 days, rather than over 45 days. (Id, Ex. 1.) The Bureau contends this shows I
was aware that the SLDR companies were illegally collecting advance fees,
because preparation of documentation relating to a consumer’s application for
debt relief couldn’t reasonably be completed in such a short time. The Bureau is
wrong. This email was sent in the very early days of the business, long before I
became aware of the problems associated with Nesheiwat, when I had no reason to
believe anything improper was occurring. As stated, as a passive investor with no
experience in the student loan debt relief industry, I lacked knowledge of the
particulars of the laws and regulations governing the industry, including any
prohibition on advance fees. While I have no recollection of this five-year old
email, given my lack of expertise and understanding of the legalities in the

industry, | would not have considered this reference to shortened payment

 
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processing time to be a legal “red flag.”

9. The Bureau acknowledges and admits that XO had an ownership interest in
the following SLDR Defendants: Docu Prep Center (aka Document Preparation
Services, LP); Certified Doe Prep Services, LP; Assure Direct Services, LP; Direct
Document Solutions, LP; and Secure Preparation Services, LP. (Complaint 4 51;
Opposition at p. 5 and fn. 14.) It notes that my first declaration in support of the
Motion to Dismiss did not attach a limited partnership agreement for Document
Preparation Services, LP (aka Docu Prep Center), the first SLDR entity. As
explained in the declaration, all the limited partnership agreements were
essentially the same, so to avoid an unnecessarily large exhibit, I provided one, for
Assure Direct Services, LP, as an exemplar for all of them. I do not have a copy
of the limited partnership agreement for Document Preparation Services, LP. As
explained below, though, XO was definitely an investor in this entity and, to the
best of my knowledge, it was set up to operate like, and did operate like, the other
SLDR entities.

10. The Bureau notes that the limited partnership agreements for Direct
Document Solutions and Secure Preparation Services indicate that XO’s “Initial
Capital Contribution” was “zero,” yet they show it received equity interests in
both entities. To the Bureau, this suggests XO paid nothing for the equity and any
distributions it received from them would have been without consideration, i.e.,
gratuitous, and therefore are not XO’s (and mine) to keep under the relief claim.
This hypothesis is incorrect and easily disproven, based on my knowledge, as an
investor (through XO) in those entities, of the backdrop of their formation and
interrelationships with other SLDR entities.

11. Direct Document Solutions LP (“DDS”) is the successor-in-interest to
Document Preparation Services LP (the original SLDR company). The general
partner of Document Preparation Services LP was Docu Prep Center Inc., which

in turn was owned by day-to-day operators, who later were replaced by new

 
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operators who desired to run the business out of a fresh entity. As a result, Direct
Document Solutions LP was formed (as well as Direct Document Solutions Inc. as
the general partner), All tangible and intangible assets were transferred to DDS
from Document Preparation Services LP. Also, a short-term, no interest, working
capital loan was provided by Document Preparation Services LP to DDS to allow
the historic employees to receive payroll from DDS as well as allow DDS to pay
new expenses because DDS had no current revenue or receivables at inception. In
exchange for the foregoing consideration (i.e., transfer of employees, transfer of
the entire business, and an interest-free loan), the existing limited partners in
Document Preparation Services LP, including XO, received near identical limited
partnership interests in DDS.

12. XO had a 16% limited partnership interest in Document Preparation
Services, LP. In DDS, XO received a replacement limited partnership interest of
14.88% (the slight dilution arising from new interests that were issued to the new
operators while the old operators kept their historic ownership). Thus, XO’s
limited partner interest in DDS was a continuation of its existing investment in
Document Preparation Services LP, was supported by consideration (the transfer

of the historic business to the new entity along with free loan) and therefore was

not “for free,” as the Bureau argues. (Opposition at 19.)
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13. The case with Secure Preparation Services LP (“SPS”) is identical to DDS.
SPS is the successor-in-interest to the assets of, and business run by, Certified
DocuPrep LP (the 2nd SLDR company formed). As with Direct Document
Solutions LP above, the original operators of the general partner of Certified
DocuPrep LP were later replaced by new operators. The new operators also
desired to run the old business out of a fresh entity, and SPS (and its companion
general partner corporation) was formed. As above with DDS, all tangible and
intangible assets belonging to Certified DocuPrep LP were transferred to SPS.

Similarly, a short-term, no interest, working capital loan was provided by Certified

 
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DocuPrep LP to SPS to allow the historic employees to continue to receive payroll
from SPS as well as allow SPS to pay new expenses because SPS had no current
revenue nor receivables at inception. In exchange for the foregoing consideration
(.e., the transfer of employees, transfer of the entire business, and an interest-free
loan), the existing limited partners in Certified DocuPrep LP, including XO,
received near identical limited partnership interests in SPS.

14. XO had a 12.8% limited partnership interest in Certified DocuPrep LP. In
SPS, XO received a replacement limited partnership interest of 11.91% (the slight
dilution occurring for the same reason as with DDS). Thus, like XO’s interest in
DDS, its limited partner interest in SPS was a continuation of its existing
investment in Certified DocuPrep LP, was supported by consideration (the transfer
of the historic business to the new entity along with a free loan) and therefore was
not “for free.”

15. | XO made capital contributions to the SLDR entities starting in February
2015 and ending in October 2016. It received distributions from those entities

between October 2015 and November 2018.

I declare under penalty of perjury under the laws of the United States that the

foregoing is true and correct to the best of my personal knowledge.

EXECUTED this 29th day of May 2020,at Los Angeles,
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KENNETH LAWSON

 
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CERTIFICATE OF SERVICE

4 I hereby certify that on the 1“ day of June 2020, I caused a copy of the foregoing to be e-

5|| filed and served via the Court’s electronic filing system to all parties and counsel receiving ECF

service.

/s/ William [. Rothbard
William I. Rothbard, Esq.

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